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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT DONNELL,                    :
    Petitioner,                    :
                                   :      No. 1:20-cv-1995
     v.                            :
                                   :      (Judge Rambo)
CATRICIA HOWARD,                   :
    Respondent                     :

                                ORDER

     AND NOW, on this 29th day of December 2020, for the reasons set forth in

the Memorandum accompanying this Order, IT IS ORDERED THAT:

     1.   Petitioner’s petition for a writ of habeas corpus pursuant to 28 U.S.C.
          § 2241 (Doc. No. 1) is DENIED; and

     2.   The Clerk of Court is DIRECTED to CLOSE the above-captioned
          case.


                                   s/ Sylvia H. Rambo
                                   United States District Judge
